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Attorneys of Plaintiff
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                 )   CR. NO. 21-00061 LEK
                                          )   CR. NO. 23-00003 LEK
           Plaintiff,                     )
                                          )   UNITED STATES’ SENTENCING
     vs.                                  )   STATEMENT; CERTIFICATE OF
                                          )   SERVICE
MARTIN KAO,                               )
                                          )
           Defendant.                     )
                                          )


              UNITED STATES’ SENTENCING STATEMENT

      The government has no objections or additions to the Draft Presentence

Report dated June 12, 2024 in the above-captioned matters. The government
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reserves the right to reply to any proposed amendments, modifications, or

additional information offered by Defendant Martin Kao.

      DATED: June 27, 2024, at Honolulu, Hawaii.

                                            Respectfully submitted,

                                            CLARE E. CONNORS
                                            United States Attorney
                                            District of Hawaii

                                            By /s/ Craig S. Nolan
                                              CRAIG S. NOLAN
                                              Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on the date and by the method of service noted below, a

true and correct copy of the foregoing was served on the following at their last

known address:

Served via CM/ECF:

      Victor J. Bakke, Esq.
      Attorney for Defendant Martin Kao (CR 21-00061 LEK)

      Melinda K. Yamaga, Esq.
      Attorney for Defendant Martin Kao (CR 23-00003 LEK)

Served via email:

      Sara Nieling
      Sara_Nieling@hip.uscourts.gov
      United States Probation Officer


      DATED:        June 27, 2024, at Honolulu, Hawaii


                                             /s/ Craig S. Nolan
                                             U.S. Attorney’s Office
                                             District of Hawaii
